O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No: 5:99CR12-12
                          Dean Lorne Weaver
                                                                            )   USM No: 14751-058
Date of Previous Judgment: 02/28/2000                                       )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 151 months  months is reduced to Time Served Plus 10 Days .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                33                                       Amended Offense Level:          31
Criminal History Category:             VI                                       Criminal History Category:      VI
Previous Guideline Range:              235         to 293        months         Amended Guideline Range:        188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for a
period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.



Except as provided above, all provisions of the judgment dated                      02/28/2000         shall remain in effect.
IT IS SO ORDERED.

Order Date:          July 3, 2008


Effective Date: July 13, 2008
                       (if different from order date)


                    Case 5:99-cr-00012-KDB                       Document 476             Filed 07/03/08        Page 1 of 1
